 

Case 2:09-cV-12561-BAF-|\/|KI\/| ECF No. 6 filed 08/07/09 Page|D.?B Page 1 of 2

  

 

AO 440 (Rev. 02/09} Summons in a Civil Aciion

UNITED STATES DISTRICT CoURr

for the
E.astern Distr'ict of`Michigan

PMIO, lnc`

Pfaintw Crvrl Actron No. 2:09-cv-12561

V.`

Sumrnertield, Iownship of`et al Hon Bernard A. Friedman

Dejéndcmt

SUMMONS IN A CIVIL ACIION

To: An'ry Reiter'

A lawsuit has been filed against you

Within 20 days after service ofthis summons orr you (not counting the day you received it) _ or 60 days it`you are

the United States ora United States agency, or an officer or employee of the United States described in Fed\ R. Civ\ P . 12
(a)(2) or (3) j you must serve on the plaintiifan answer to the attached complaint or a motion under Rule 12 oi'tlre Federal
Rules of Civil Procedure Ihe answer or motion must be served on the plaintiff or plaintiif”s attorney, whose name and
address are:

Cindy R. Victol'

Victor Firm

35801 Mound Road

Sterling Heights , MI 48310

If`you fail to r'espond, judgment by default may be entered against you for the relief demanded in tlie complaint You
also must file your answer or motion with the court

DA VID ]. WEA VER, CLERK OF COURT By; S/ S. Schoenherr
Sz`gnatzlre ofClerk or Depzrry Cler'k

Date of`lssuance: Julv 13, 2009

 

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AO 440 {`Rev. 02/09) Sumnrons in a Civil Action

Summons and Complaint Return of Service

 

Case No 2:09~cv-12561
Hon. Bernard A\. Priedman

A copy of`the Surnmons and Complaint has been served in the manner indicated below:

Name of`Party Served: Amy Reiter
Date of`Service: <.§\L)L_a 33 ¢Q{DQ

Method of` Service

Personally served at this address:

 

 

 

Lef`t copies at the usual place of` abode with (name of per'son):

 

 

 

 
 

, g Other (specify): q

 

 

 

Returned unexecuted (reason):

 

 

 

SBI`ViC€ FBESZ Ir'avel $ Scrvice $ lotal $

Declaration of Ser'ver‘

l declare under the penalty of`perjury that the information contained in this Return of` Service is true and correct

Name of Server: C/'\,¢"(` ehd:`(€\ \l/\`/(:`_,\f)\__ )
Signatur'e of`SereI‘: C:QL/\’\CL-»d,` €W€k_)>_/\if/a¢"gk
Date: .` \LJK_A <§\ /‘Q(:GC(

Server’s Address: ;E>\S%:C)\\ mci Xfln @(I?d,
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